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                         ,{MENDMENT NO.2 TO MANAGEMENT AGREEMENT

         This AMENDMENT NO. 2 TO MANAGEMENT AGREEMENT ("Amendment Ib_2") is
made as   of July l, 2017, by and between BORREGO COMMUNIry HEALTH FOUNDATION., a
Califomia Non-Profit Corporation C'BCIIF), and PREMIER HEALTH CARE MANAGEMENT, INC.,
a Califomia Corporation ('PHCM'). BCHF and PHCM are sometimes hereinafter rcferred to as the
"Parties" collectively or a "Party" individually.

                                                REC ITALS

       A.       BCHF and PHCM entered into that certain Management Agreement dated March l, 2016
as amended   by Amendment No.l ("Management Agrcement") covering various management services
relating to BCHF'S Contract Dental Program, whereby BCTIF contracts with private dental practices to
provide covered dental services to BCHF patients.

        B.     BCHF and PHCM now wish to amend the Management Agreement upon the terms,
covenants, and conditions hereinafter set forth.

        NOW THEREFORE, in consideration of the mutual covenants, promises and conditions
hereinafter set forth, the receipt and sufliciency of which are hereby acknowledged, as of the Effective
Date the Parties agree as follows:

        l.        Article 2 of the Management Agreement is hereby deleted and the following Article 6 is
added as   follows:


        A.        Comoensation. ln consideration for the services to be provided by PHCM pursuant to
this age€ment as described in Exhibit "A" and as reasonably contemplated thereby, BCHF shall
compensate PHCM the sum of twenty-five dollars ($25.00) per "patient visit" processed in any given
month, less retumed claims for incompleteness, for participating patient visits to any contracted or sub-
contracted dentist pursuant to any active Dental Agreement. For purposes of this section, a "patient
visit" shatl be a visit for which (D PHCM provides BCHF wi$ a complete and clean claim, including all
pertinent treatment and demographic information; and (ii) for which BCHF receives payment from the
appropriate payor for the participating patient visit.

                 B.       Billine. PHCM shall bill BCHF monthly for its services and remit to BCIIF a
statement by the l0th of each month for visits processed for the preceding month less any retumed visits
as a credit against the total. Payment of all monies due PHCM for its fees shall be paid on or before the
2Oth calendar day ofeach month.


                C. Review. PHCM, upon two (2) days written notice to BCHF, shall have the right
to review, copy and audit if desired the billing and payment records relating to dental services under all
Dental Agreements. This right to review, copy and audit if desired shall include access to all electronic
and paper copies of (i) all bills generated r€lated to dental services under any Dental Agreement; (ii) all
payments or funds received relating to dental services under any Dental Agreement including but not
limited to any payments or funds rec.eived from patients or dentists.

                 D.      No   Referral. It is specifically   agreed and understood between the parties that


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nothing in this Agreement is intended to provide payment or benefit of any kind (directly or indirectly),
for the referral ofpatients to BCHF but compensation hereunder is for management services provided.

      2. This Amendment No. 2 may be executed simultaneously or in counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
Amendment No. 2.

         3.         Any conflict between the terms of this Amendment No. 2 and the              Management
Agreement the terms of this Amendment No. 2 shall control.

         4.         Except as specifically provided herein all terms shall have the same meaning as defined
in the Management Agreement.

         5.         Except as specifically amended herein, the Management Agreement shall remain in full
force and effect.

         IN WITNESS WHEREOF, the undersigned have executed this Amendment No. 2 effective               as   of
the date first written above.


PHCM:                                              BCHF:

Premier Health Care Managemen! Inc.                Borrego Community Health Foundation
a Califomia corporation                            a California non-profit public benefit corporation




By                                                 By:
     Daryl R. Priest, President                    Name:      M\KrA      .^lS\,\15
                                                   lts:




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